Case 2:21-cv-00310-JRG Document 227 Filed 07/20/22 Page 1 of 5 PageID #: 7249




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

TQ DELTA, LLC,

                  Plaintiff,
                                          Civil Action No. 2:21-CV-00310-JRG
      v.                                  (Lead Case)

COMMSCOPE HOLDING COMPANY,                Civil Action No. 2:21-CV-00309-JRG
INC., COMMSCOPE INC., ARRIS               (Member Case)
INTERNATIONAL LIMITED, ARRIS
GLOBAL LTD., ARRIS US HOLDINGS,
INC., ARRIS SOLUTIONS, INC., ARRIS
TECHNOLOGY, INC., and ARRIS
ENTERPRISES, LLC, NOKIA CORP., NOKIA
SOLUTIONS AND NOKIA OF AMERICA
CORP.,

                 Defendants

NOKIA OF AMERICA CORP.

           Third-Party Plaintiff,

      v.

BROADCOM CORP., BROADCOM INC.,
and AVAGO TECHNOLOGIES
INTERNATIONAL SALES PTE. LTD.

           Third-Party Defendants


               COMMSCOPE’S OPPOSITION TO BROADCOM’S
             MOTION TO ENTER AMENDED PROTECTIVE ORDER
Case 2:21-cv-00310-JRG Document 227 Filed 07/20/22 Page 2 of 5 PageID #: 7250




       Defendants CommScope Holding Company, Inc., CommScope, Inc., ARRIS International

Ltd., ARRIS Global Ltd., ARRIS US Holdings, Inc., ARRIS Solutions, Inc., ARRIS Technology,

Inc., and ARRIS Enterprises, LLC (collectively “CommScope”) oppose Third Party Defendants

Broadcom Corp., Broadcom, Inc., and Avago Technologies International Sales Pte. Ltd.’s

(collectively “Broadcom”) Opposed Motion to Enter Amended Protective Order (Dkt. No. 194)

(hereinafter “Motion”). CommScope respectfully requests this Court deny Broadcom’s Motion

because Broadcom has not met its burden under Federal Rule of Civil Procedure 26 to demonstrate

good cause that revisions are necessary, it misstates CommScope’s position as to Protective Order

revisions, and its proposed restrictions are burdensome and unnecessary.

       First, Broadcom has not met its burden under Federal Rule of Civil Procedure 26 to show

good cause that revisions to the Protective Order are necessary. Fed. R. Civ. P. 26(c)(1). Good

cause “requires changed circumstances or new situations warranting modification of a protective

order.” United States ex rel. Fisher v. Ocwen Loan Servicing, LLC, 2016 U.S. Dist. LEXIS 7475,

*12 (E.D. T.X. Jan. 22, 2016). To demonstrate good cause, the movant must present “a specific

demonstration of fact rather than mere conclusory statements.” Caraway v. Chesapeake Expl.

LLC, 269 F.R.D. 627, 628 (E.D. Tex. 2010) (quoting Resolution Tr. Corp. v. Worldwide Ins. Mgmt.

Corp., 147 F.R.D. 125, 127 (N.D. Tex. 1992) (no good cause demonstrated)). Broadcom does not

make a showing sufficient to warrant modifying the Protective Order. The Protective Order was

negotiated with TQ Delta by defendants CommScope and Nokia, who will themselves produce

source code in this action. Instead, Broadcom summarily states the current Protective Order does

not adequately protect its confidential source code, but provides no further showing of how the

Protective Order is not adequate. Absent further evidence, its rationale is insufficient. Thus,

Broadcom fails to demonstrate good cause exists to modify the Protective Order.



                                               1
Case 2:21-cv-00310-JRG Document 227 Filed 07/20/22 Page 3 of 5 PageID #: 7251




       Broadcom’s argument fails for two additional reasons. First, as to protection of its source

code, the current Protective Order is based on the model protective order in the Eastern District of

Texas (with a few modifications) and already adequately addresses protection of source code. Dkt.

No. 61 (Protective Order) at 6-8 (paragraph 10 details additional restrictions applicable to source

code). Broadcom makes no specific arguments that counsel departing from this Court’s model

protective order. See Dkt. No. 194 at 2-4. Second, as to negotiating the Protective Order, portions

of Broadcom’s own Motion undermine its arguments as to the need for additional source code

protections. If it is not subject to full discovery as a party to the Nokia case, Broadcom states it

“agrees to be bound to the current Protective Order . . . as the parties can handle any negotiations

regarding source code production and related restrictions pursuant to the third party subpoenas.”

Dkt. No. 194 at 2. By doing so, Broadcom tacitly admits that the current protective order is

sufficient. Thus, Broadcom fails to show good cause to modify the Protective Order.

       Second, Broadcom misstates CommScope’s position as to revisions to the Protective

Order. CommScope maintains that revisions to the current Protective Order are not necessary.

Broadcom incorrectly states that “CommScope agrees to aspects of Broadcom’s proposed

Protective Order.” Dkt. No. 194 at 4. CommScope consistently maintained that position, but still

made a good faith effort to edit the protective order. As opposed to compromising, Broadcom’s

latest set of revisions keeps all of the most cumbersome and unjustified restrictions. See Dkt. No.

194-3 at 7-11 (maintaining restrictions on hours the source code is available, access to source code,

and restrictions to printouts and electronic copies). In particular, Broadcom’s revisions in Exhibit

C are the most problematic and restrictive revisions that CommScope already opposed during good

faith editing efforts. As such, CommScope does not agree to any modification of the current

Protective Order.



                                                 2
Case 2:21-cv-00310-JRG Document 227 Filed 07/20/22 Page 4 of 5 PageID #: 7252




       Third, the proposed restrictions in Broadcom’s Revised Protective Order (Dkt. No. 194-4)

are unnecessary and unduly burdensome to all parties involved. Broadcom seeks to restrict the

hours the source code is available, restrict the ability to make printouts and electronic copies, and

give itself the unilateral authority to decide when and by whom the code can be accessed. For

example, in paragraph 10(b), Broadcom wishes to restrict the hours of source code review to 9 am

to 5 pm as opposed to the previous 8 am to 6 pm timeframe—resulting in a loss of 10 hours of

source code review per week. Dkt. No. 194-4 at 7. Moreover, in paragraph 10(i) and 10(j),

Broadcom seeks to place burdensome limitations on the ability to print source code or make

electronic copies of source code. Dkt. No. 194-4 at 10-11. Contrary to its assertions in its Motion,

the proposed amendments to the Protective Order do not serve to “reduce the disruption to the

current status quo.” Dkt. No. 194 at 2. Instead, the revisions have the opposite effect. Broadcom’s

proposed changes burden CommScope because it causes uncertainty in availability of source code,

advances an unpredictable schedule, and unnecessarily complicates the parties’ use of the source

code in this action.

       Accordingly, CommScope respectfully requests this court deny Broadcom’s Motion.



Dated: July 20, 2022                                  Respectfully submitted,

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Case 2:21-cv-00310-JRG Document 227 Filed 07/20/22 Page 5 of 5 PageID #: 7253




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                               CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was served electronically on July 20, 2022,

on all counsel who have consented to electronic service via ECF.

                                                   /s/ Eric H. Findlay_____
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